    Case 2:14-md-02592-EEF-MBN Document 17114 Filed 10/03/19 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

                                                      )
     IN RE: XARELTO (RIVAROXABAN)                     ) MDL No. 2592
     PRODUCTS LIABILITY LITIGATION                    )
                                                      )
                                                      )
     THIS DOCUMENT RELATES TO:
                                                      SECTION L
     KELLY COOK                                       )
     Civil Action No. 2:19-cv-06234                   )
                                                      )
     ISRAEL ANGULO                                    )
     Civil Action No. 2:19-cv-05338                   )
                                                      )
     IRENE DEJUANINI                                  )
     Civil Action No. 2:19-cv-08864                   )
                                                      )
     CHARLES GUTOWSKI                                 )
     Civil Action No. 2:19-cv-06668                   ) JUDGE ELDON E. FALLON
                                                      )
     CHARLES KAZENMAYER                               )
     Civil Action No. 2:19-cv-07365                   )
                                                      )
     MAXINE MORGAN                                    )
     Civil Action No. 2:19-cv-06675                   )
                                                      )
     BETTY PIERCE                                     )
     Civil Action No. 2:19-cv-07644                   )
                                                      )
     GARY THOMAS                                      )
     Civil Action No. 2:19-cv-08716                   )
                                                      ) MAGISTRATE JUDGE NORTH



RESPONSE TO ORDERS TO SHOW CAUSE REGARDING PLAINTIFFS WHO HAVE
 FAILED TO COMPLY WITH CMO 12A AND PLAINTIFFS OVER WHOSE CLAIMS
           THE COURT LACKS SUBJECT MATTER JURISDICTION

       On October 2, 2019, this Court entered two Supplemental Orders regarding CMO 12A

Non-Compliance, and two Supplemental Orders regarding Cases Lacking Subject Matter

Jurisdiction. Plaintiffs represented by Trammell PC are listed in Exhibits A to two of the October
    Case 2:14-md-02592-EEF-MBN Document 17114 Filed 10/03/19 Page 2 of 4



2 Supplemental Orders, Docket Numbers 16868 (CMO 12A Non-Compliance, listing Kelly Cook)

and 16877 (Lack of Subject Matter Jurisdiction, listing Israel Angulo, Irene Dejuanini, Charles

Gutowski, Charles Kazenmayer, Maxine Morgan, Betty Pierce, and Gary Thomas, collectively the

“Subject Matter Jurisdiction Plaintiffs”). With respect to the CMO 12A Non-Compliance

Supplemental Order listing Kelly Cook in Exhibit A, her case was included in error—it was

dismissed with prejudice on September 19, 2019, pursuant to a joint Rule 41 stipulation.1

       Regarding the Subject Matter Jurisdiction Plaintiffs included in Exhibit A to this Court’s

Subject Matter Jurisdiction Supplemental Order—Docket Number 16877—each plaintiff in this

list other than Charles Gutowski has effectively abandoned his or her case. Trammell PC has

attempted on numerous occasions and by various mediums of communication to contact Israel

Angulo, Irene Dejuanini, Charles Kazenmayer, Maxine Morgan, Betty Pierce, and Gary Thomas,

and has either received agreement to dismiss their cases or the absence of any communication.

These six individuals have wholly failed to submit the required settlement documentation,

including Enrollment Election Forms, Dismissals, and Releases. Therefore, Trammell PC has no

basis to oppose dismissal of the following cases, without prejudice: (1) Israel Angulo, Civil Action

No. 2:19-cv-05338; (2) Irene Dejuanini, Civil Action No. 2:19-cv-08864; (3) Charles Kazenmayer,

Civil Action No. 2:19-cv-07365; (4) Maxine Morgan, Civil Action No. 2:19-cv-06675; (5) Betty

Pierce, Civil Action No. 2:19-cv-07644; and (6) Gary Thomas, Civil Action No. 2:19-cv-08716.

       As to Charles Gutowski, his completed Stipulation of Dismissal, Enrollment Election

Form, and applicable Release have been uploaded to the MDL Centrality portal—curing the Notice




       1
           See Kelly Cook Rule 41 Dismissal with Prejudice, attached as Exhibit A (also Dkt. No. 15989).


                                                         2
    Case 2:14-md-02592-EEF-MBN Document 17114 Filed 10/03/19 Page 3 of 4



of Incomplete Enrollment Package received on September 10, 2019.2 For these reasons, he is

eligible to participate under the terms of the Xarelto Settlement Agreement, and requests that the

Supplemental Order to Show Cause, Docket Number 16877 be withdrawn regarding his case.

        For these reasons, Plaintiff Charles Gutowski requests, through counsel, that the Order to

Show Cause be withdrawn in his case to permit his participation in the Xarelto Settlement

Program.

Dated: October 3, 2019

                                                           Respectfully submitted,

                                                           TRAMMELL PC

                                                           BY: _/s/ Fletcher V. Trammell__________
                                                           FLETCHER V. TRAMMELL
                                                           TX Bar No. 24042053
                                                           MICHAEL R. DARLING
                                                           TX Bar No. 24105778
                                                           TRAMMELL PC
                                                           3262 Westheimer, Suite 473
                                                           Houston, TX 77098
                                                           (800) 405-1740
                                                           Attorneys for Plaintiff




        2
           See Charles Gutowski Stipulation of Dismissal, attached as Exhibit B; see also Charles Gutowski
Enrollment Election Form, attached as Exhibit C; see also Charles Gutowski Settlement Program Release, attached
as Exhibit D.

                                                      3
    Case 2:14-md-02592-EEF-MBN Document 17114 Filed 10/03/19 Page 4 of 4



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 3, 2019, the foregoing Response to Orders

to Show Cause Regarding Plaintiffs Who Have Failed to Comply with CMO 12A and Plaintiffs

Over Whose Claims the Court Lacks Subject Matter Jurisdiction was filed electronically with the

Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to Liaison Counsel

for Plaintiffs and Defendants by operation of the Court’s electronic filing system and served on all

other plaintiff counsel via MDL Centrality, which will send notice of electronic filing in

accordance with the procedures established in MDL 2592 pursuant to Pre-Trial Order No. 17.

                                                                     _/s/ Michael R. Darling_____
                                                                     Michael R. Darling




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